    Case: 1:21-cv-01956 Document #: 10 Filed: 05/21/21 Page 1 of 8 PageID #:34




                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF ILLINOIS
                           EASTERN DIVISION


DESIREE HOLLIS,

                       Plaintiff,               Case No: 21-cv-1956

       v.                                       Judge: Hon. Thomas Durkin

THE CITY OF CHICAGO and CHICAGO                 Mag. Judge: Hon. Jeffrey Cole
POLICE OFFICER IOAN BOERIU (#
unknown),

                        Defendants.         JURY TRIAL DEMANDED




                          FIRST AMENDED COMPLAINT

      Plaintiff DESIREE HOLLIS, by and through her undersigned attorneys at

First Defense Legal Aid, files this First Amended Complaint against Defendants

CITY OF CHICAGO and CHICAGO POLICE OFFICER IOAN BOERIU (#

unknown), and in support thereof states the following:

                                    INTRODUCTION

      1.     This action is brought pursuant to 42 U.S.C. §1983 to address

deprivations of Plaintiff’s rights under the Constitution of the United States.

      2.     On April 13, 2019, PLAINTIFF DESIREE HOLLIS, while in custody at

the Chicago Police 6th District station, was the victim of a vicious, unjustified attack

by DEFENDANT OFFICER IOAN BOERIU.
     Case: 1:21-cv-01956 Document #: 10 Filed: 05/21/21 Page 2 of 8 PageID #:35




       3.     While HOLLIS was in handcuffs waiting to I-bond out for a minor

criminal charge, DEFENDANT OFFICER BOERIU punched her in the face and

subsequently grabbed her right leg, wrenching it and applying pressure on her

kneecap to the point that HOLLIS and another police officer observing believed that

BOERIU would break her leg.

       4.     HOLLIS was taken to the hospital the day of the attack by police, where

she was mocked by officers from the department’s Internal Affairs Division, and was

subsequently released on an I-bond and forced to walk home because police seized

her keys, vehicle, and wallet.

       5.     HOLLIS was pregnant at the time and she now seeks justice.

                             JURISDICTION AND VENUE

       6.     The jurisdiction of the court is invoked pursuant to the Civil Rights Act,

42 U.S.C. §1983; the Judicial Code, 28 U.S.C. §1331 and §1343(a); and the

Constitution of the United States.

       7.     Venue is appropriate under 28 U.S.C. §1391(b), as all defendants reside

in this judicial district. In addition, a substantial part of the events giving rise to this

claim occurred in this judicial district.

                                        PARTIES

       8.     Plaintiff DESIREE HOLLIS (“PLAINTIFF or “HOLLIS”) is a United

States Citizen who at all times mentioned herein resided in the Northern District of

Illinois.




                                             2
    Case: 1:21-cv-01956 Document #: 10 Filed: 05/21/21 Page 3 of 8 PageID #:36




      9.     Defendant CITY OF CHICAGO is, and at all times mentioned herein, a

municipality organized and operating under the statutes of the State of Illinois. It is

authorized under the statutes of the State of Illinois to maintain the Chicago Police

Department, which acts as the City’s agent in the areas of municipal law

enforcement, and for which the City is ultimately responsible. Defendant City was at

all times material to this Complaint the employer and principal of the Individual

Defendant.

      10.    DEFENDANT OFFICER IOAN BOERIU was at all times relevant to

this Complaint a duly appointed and sworn law enforcement officer of the CITY OF

CHICAGO, which was and is his principal and employer. At the time of the

complained of events, he was a white male of large weight and average height with a

bald head, and then carried the rank of Sergeant or above. Upon information and

belief, he was based out of and assigned to the Chicago Police Department’s 6th

District on the day of the complained of events.

      11.     At all times relevant herein, BOERIU was acting in the scope of his

employment and under color of state law.

      12.    DEFENDANT OFFICER BOERIU is sued in his individual capacity.

                                        FACTS

      13.     Early in the morning of April 13, 2019, Chicago police seized and

arrested PLAINTIFF DESIREE HOLLIS on 87th Street in Chicago for allegedly

resisting arrest/obstructing a peace officer.




                                           3
    Case: 1:21-cv-01956 Document #: 10 Filed: 05/21/21 Page 4 of 8 PageID #:37




      14.    After her arrest, police took HOLLIS to the 6th District police station,

and several hours passed without her being given an I-bond. An attorney visited her

during her detention, who told her that she would receive an I-bond and be released

in the morning.

      15.    HOLLIS was left handcuffed to a bench alone in a holding cell separate

from the District’s main lockup, upon information and belief a cell normally reserved

for holding juvenile detainees.

      16.    HOLLIS, after falling asleep in the holding cell, woke to see the sun up,

and became alarmed because she had not yet been released as she was counseled

would be the case by the attorney who visited her at the station.

      17.    HOLLIS, in a state of distress and alarm, informed Chicago Police

Officers that she needed to go to a hospital.

      18.    HOLLIS ripped her shirt and attempted to tie it around her neck.

Approximately five to six Officers entered the cell, prevented PLAINTIFF from

harming herself, and re-fastened her handcuffs.

      19.    Once officers re-fastened her handcuffs, DEFENDANT OFFICER

BOERIU struck HOLLIS in the face with his fist. He subsequently grabbed her leg

and began applying significant pressure, forcing her knee into an unnatural position,

causing great pain and causing HOLLIS to fear that her leg would break.

      20.    At this point, a Black male officer, who, upon information and belief was

of high rank within the department, said to BOERIU, “Sergeant Boeriu, STOP, you’re

going to break her leg!”




                                           4
    Case: 1:21-cv-01956 Document #: 10 Filed: 05/21/21 Page 5 of 8 PageID #:38




      21.   HOLLIS was not suspected of a serious crime, a danger to officer

BOERIU or any other officer, attempting to flee custody, or resisting arrest at the

time BOERIU punched her in the face and attempted to break her leg.

      22.   HOLLIS, who was in handcuffs and pregnant, posed no threat to

BOERIU at the time he attacked her.

      23.   Following the attack, HOLLIS was transported by police to St. Bernard

Hospital for treatment, where she was mocked by members of Chicago Police Internal

Affairs Division who were there to document the event.

      24.   HOLLIS was eventually released on an I-bond, and, because police had

seized her car, keys, wallet, and other items, walked home.

      25.   HOLLIS sought further treatment in days following the attack from the

University of Illinois at Chicago Health System.

      26.    As a direct and proximate cause of BOERIU‘s actions, HOLLIS suffered

damages including but not limited to medical bills, pain and suffering, mental

anguish, emotional distress, and humiliation.

                   COUNT I: 42 U.S.C. §1983 - Excessive Force
                      Against Defendant Officer Boeriu
                               (Federal Claim)

      27.    PLAINTIFF realleges paragraphs 1-26 as though fully set forth above.

      28.   DEFENDANT OFFICER BOERIU punched PLAINTIFF in the face and

bent her leg backwards in an attempt to cause serious physical harm and

disfigurement.




                                         5
    Case: 1:21-cv-01956 Document #: 10 Filed: 05/21/21 Page 6 of 8 PageID #:39




      29.    PLAINTIFF was unarmed and posed no threat to DEFENDANT at the

time of this use of force, was not resisting DEFENDANT or committing any other

crime at the time of this use of force, was not suspected of a serious crime at the time

of this use of force, and was not attempting to flee at the time of this use of force. She

was handcuffed in a holding cell pursuant to a resisting/obstructing charge, in a room

separate from the primary lockup, and in the middle of a heavily staffed police station

at the time of the attack.

      30.    BOERIU’s actions constituted unreasonable and excessive force in

violation of PLAINTIFF’s Fourth Amendment rights.

      31.     The actions of DEFENDANT directly and proximately caused

PLAINTIFF’s injuries, including pain and suffering, humiliation, emotional distress,

mental anguish, and financial loss.

      32.     The misconduct described in his Count was willful and wanton and

undertaken with malice, willfulness, and reckless indifference and conscious

disregard for PLAINTIFF’s rights and safety.

      WHEREFORE, PLAINTIFF respectfully requests that this Court enter

judgment in her favor, and against DEFENDANT OFFICER BOERIU, for

compensatory damages, punitive damages, attorney’s fees and costs, and such other

relief as the Court deems just and equitable.

                   COUNT II: 745 ILCS 10/9-102 - Indemnification
                       Against Defendant City of Chicago
                                (State Law Claim)

      33.    PLAINTIFF realleges paragraphs 1-26 as though fully set forth herein.




                                            6
     Case: 1:21-cv-01956 Document #: 10 Filed: 05/21/21 Page 7 of 8 PageID #:40




       34.    Defendant CITY OF CHICAGO is the employer of OFFICER BOERIU.

       35.    BOERIU committed the above-alleged acts under color of law and in the

scope of his duties and employment with the CITY OF CHICAGO.

       36.    In Illinois, public entities are directed to pay for any tort judgment for

compensatory damages for which employees are liable within the scope of their

employment activities. 745 ILCS 10/9-102.

       37.    As a direct and proximate cause of BOERIU’s unlawful acts, which

occurred within the scope of his employment activities, PLAINTIFF was damaged,

including pain and suffering, humiliation, emotional distress, mental anguish, and

financial loss.

       WHEREFORE, PLAINTIFF respectfully requests that this Court enter

judgment in her favor, and against DEFENDANT CITY OF CHICAGO, for

compensatory damages, punitive damages, attorney’s fees and costs, and such other

relief as the Court deems just and equitable.

                                   JURY DEMAND

       Plaintiff demands trial by jury on all issues so triable.



                                         Respectfully submitted,
 Brittany Shaw (#6333347)
                                                             /s/Daniel E. Massoglia
 Daniel Massoglia (#6317393)
 First Defense Legal Aid
 601 S. California Ave.                                    One of Plaintiff’s Attorneys
 Chicago, IL 60612
 P: 708-797-3066
 E: brittany@first-defense.org
 E: daniel@first-defense.org




                                            7
     Case: 1:21-cv-01956 Document #: 10 Filed: 05/21/21 Page 8 of 8 PageID #:41




                                CERTIFICATE OF SERVICE

       I, Daniel Massoglia, an attorney, hereby certify that a copy of Plaintiff’s First

Amended Complaint was filed before 11:59pm on 5/21/20 using the Court’s CM/ECF filing

system, which generates electronic notice to all parties of record in the case. A copy of this

filing was also transmitted via email to counsel for Defendant City, who reached out to

Plaintiff’s counsel by email on 5/20/21 prior to filing any appearances.



Respectfully submitted,

Daniel Massoglia

One of Plaintiff’s Attorneys




 Daniel Massoglia (#6317393)
 First Defense Legal Aid
 601 S. California Ave.
 Chicago, IL 60612
 P: 708-797-3066
 E: daniel@first-defense.org




                                               8
